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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                      2:09-cr-64-FtM-99SPC

KRISTY M. PASTORE
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on a matter which was

initiated by the Court and a similar parallel motion filed by

defendant’s court-appointed counsel.            On July 22, 2011, the Court

entered an Order (Doc. #168) directing the government to respond to

a Memorandum (Doc. #168-1) from the United States Probation Office

suggesting that defendant is eligible for a reduction of her

sentence pursuant to the Fair Sentencing Act of 2010.             On July 29,

2011, defendant through counsel, filed a Motion Under 18 U.S.C. §

3852(c)(2) to Modify A Sentence by a Person in Federal Custody

(Doc. #170).      The government filed a Memorandum (Doc. #171) in

response    to   the   Court’s   Order    (to    which    defendant   filed   a

Memorandum in Response (Doc. #172)), and a Response (Doc. #176) in

opposition to defendant’s motion.               The government opposes any

change in defendant’s sentence.

                                     I.

      Defendant Kristy M. Pastore (defendant or Pastore) was named

in a two count Indictment (Doc. #10) charging her with one count of

conspiracy to possess with intent to distribute 5 or more grams of
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crack cocaine and 500 or more grams of cocaine, and one count of

possession with intent to distribute 500 grams or more of cocaine.

Both counts carried a mandatory minimum five years imprisonment to

a maximum of twenty years imprisonment.                In due course, defendant

waived   indictment,      consented        to    the   filing   of   a   one    count

Information which charged her with simple possession of 5 or more

grams of cocaine base on or about August 8, 2009, in violation of

21 U.S.C. § 844(a), and pled guilty to the Information pursuant to

a Plea Agreement (Doc. #75).                At the time, the Section 844(a)

offense carried a mandatory minimum sentence of five years to a

maximum of twenty years imprisonment.                  The government agreed to

dismiss both counts of the Indictment at the time of sentencing.

      Prior to sentencing, the Court issued an Order (Doc. #103)

directing counsel to be prepared to address the impact of the Fair

Sentencing Act of 2010 on the case and the viability of the Plea

Agreement.    At the August 31, 2010 sentencing, the government took

the   position     that   the   Fair   Sentencing         Act   of   2010    was   not

applicable because the sentencing portion only applied to a person

who committed an offense on or after August 3, 2010.                        The Court

announced    its    “sense”     of   the     law   that   the   statute      was   not

retroactively applicable to the circumstances in this case, but

gave counsel the opportunity to seek a continuance in order to do

more research.      After conferring with defendant, defense counsel

stated defendant wanted to proceed that day, which defendant


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confirmed in open court.         The Court then found that the Fair

Sentencing Act of 2010 applied to offenses committed on and after

August 3, 2010, but was not retroactive to cases committed prior to

that date even though defendant was being sentenced after that

date.   Defendant was then sentenced to 87 months imprisonment, and

the two-count Indictment was dismissed.         (Doc. #105.)

                                    II.

      As we now know, in the Eleventh Circuit, the Fair Sentencing

Act of 2010 (“FSA”), Pub. L. No. 111–220, 124 Stat. 2372 (2010),

applies to defendants who committed crack cocaine offenses before

August 3, 2010, the date of its enactment, but who are sentenced

thereafter.     United States v. Rojas, No. 10-14662,            F.3d      ,

2011 WL 2623579 (11th Cir. July 6, 2011).           Defendant Pastore is

such a person, having committed her crack cocaine offense on or

about August 8, 2009, and having been sentenced on August 30, 2010.

The FSA reduced the statutory maximum penalty for a Section 844(a)

offense to one year imprisonment.          In light of Rojas, the Court

clearly erred when it imposed a sentence in excess of one year of

imprisonment.

      The government argues, however, that the FSA should not apply

to Pastore because the government made substantial concessions in

the plea agreement (Doc. #171, pp. 2-3).         In light of Rojas, this

argument is not tenable.        Rojas also involved a plea agreement

where the government had made concessions.              Additionally, the


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parties   may   not   by   agreement       change   the   statutory   maximum

determined by Congress.

                                    III.

A.   18 U.S.C. § 3582(c)(2):

      The Court’s initial Order relied upon 18 U.S.C. § 3582(c)(2)

as the basis for its authority to inquire as to defendant’s

sentence after it had been imposed. Defendant’s motion relies upon

the same statute, and the government’s most recent response does

likewise.

      Title 18, United States Code, Section 3582(c)(2) provides in

pertinent part:

      (c) The court may not modify a term of imprisonment once
      it has been imposed except that--

      . . .

      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2). While the government correctly argues that

the Section 3582(c)(2) reduction is a matter of discretion, the

Court has no discretion to impose a sentence which exceeds the

statutory maximum.      The government also argues, in essence, that

defendant simply does not deserve this type of drastic reduction


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given the factors the Court must consider under 18 U.S.C. § 3553.

The Court agrees, but that also does not allow a court to impose a

sentence in excess of the statutory maximum.

      In this case, Pastore’s sentencing range was lowered by virtue

of an Act of Congress which lowered the statutory penalty, rather

than by the Sentencing Commission pursuant to 28 U.S.C. 994(o).

Therefore, it does not appear that Section 3582(c)(2) applies to

this case.

B.   28 U.S.C. § 2255:

      Defendant is entitled to relief, however, because her motion

may be considered as a motion under Title 28, United States Code,

Section 2255.    Section 2255(f)(1) provides that such a motion must

be filed within one year of the date the judgment of conviction

becomes final.      Defendant was sentenced on August 30, 2010, no

direct appeal was filed, and the conviction became final 10 days

later.   Mederos v. United States, 218 F.3d 1252, 1253 (11th Cir.

2000).    Therefore, the one year period to file a Section 2255

motion has not yet expired.

      Substantively, the issue raised by defendant may properly be

raised in a Section 2255 motion.           Section 2255(a) provides that:


      [a]   prisoner in custody under sentence of a court
      established by Act of Congress claiming the right to be
      released upon the ground that the sentence was imposed in
      violation of the Constitution or laws of the United
      States, or that the court was without jurisdiction to
      impose such sentence, or that the sentence was in excess
      of the maximum authorized by law, or is otherwise subject

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      to collateral attack, may move the court which imposed
      the sentence to vacate, set aside or correct the
      sentence.

28 U.S.C. § 2255(a).      Here, Pastore is in custody, under sentence

of a federal court, and claims the right to be released because the

sentence was imposed in violation of the federal FSA and the

sentence was in excess of the maximum authorized by law.                    The

remedies    authorized    by    Section     2255    include    correcting    the

sentence.    28 U.S.C. § 2255(a).

      The government argues that because the “plea agreement was

drafted and agreed upon with the intention that the Defendant serve

a minimum mandatory sentence of five (5) years imprisonment,” the

conviction and Plea Agreement should be rescinded based on mutual

mistake and frustration of purpose.               (Doc. #171, pp. 3-4.)     The

Court cannot agree.      It is clear that neither side controlled the

sentence    in   this   case.     The      Plea    Agreement   provides     that

“[p]ursuant to Fed. R. Crim. P. 11 (c)(1)(8), the United States

will recommend to the Court that the defendant be sentenced within

the defendant’s applicable guidelines range as determined by the

Court. . . .     The parties understand that such a recommendation is

not binding on the Court and that, if it is not accepted by this

Court, neither the United States nor the defendant will be allowed

to withdraw from the plea agreement, and the defendant will not be

allowed to withdraw from the plea of guilty.”                   (Doc. #75, p.

3)(emphasis added).      Additionally, it is clear that defendant has


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not violated the Plea Agreement, which always allowed her to

challenge a sentence as being in excess of the statutory maximum.

(Doc. #75, p. 6, ¶5(b).)           Further, the Court had this very

discussion at the sentencing hearing, but came to a result which is

not inconsistent with Rojas.          The government was certainly on

notice of the issue and the lack of case law as to the issue, but

failed to seek relief from the Plea Agreement.          This situation is

essentially the same as in Rojas, where the government received

less than it thought it bargained for in a plea agreement.           As has

been noted,

      In a contract (and equally in a plea agreement) one binds
      oneself to do something that someone else wants, in
      exchange for some benefit to oneself. By binding oneself
      one assumes the risk of future changes in circumstances
      in light of which one’s bargain may prove to have been a
      bad one. That is the risk inherent in all contracts;
      they limit the parties’ ability to take advantage of what
      may happen over the period in which the contract is in
      effect.

United States v. Bownes, 405 F.3d 634, 636 (7th Cir. 2005).

Finally, none of the cases cited by the government involve a

situation similar to this case.

      Accordingly, it is now

      ORDERED:

       1. Defendant’s Motion Under 18 U.S.C. § 3852(c)(2) to Modify

A Sentence by a Person in Federal Custody (Doc. #170), is deemed to

be a motion to reduce sentence under 28 U.S.C. § 2255, and as such

is GRANTED.


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      2.   After considering all the factors in 18 U.S.C. § 3553,

defendant’s sentence is reduced to one year imprisonment, followed

by supervised release of three years.           All the other terms and

conditions of the Judgment in a Criminal Case (Doc. #105) shall

remain the same.

      3.   The Clerk of the Court shall enter an amended judgment

accordingly.

      DONE AND ORDERED at Fort Myers, Florida, this          15th    day of

August, 2011.




Copies:
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U.S. Probation
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